   Case 24-55036-jwc           Doc 3     Filed 05/17/24 Entered 05/17/24 16:12:04               Desc Main
                                         Document      Page 1 of 1
           AFFIDAVIT TO ACCOMPANY PETITION FILED PRO SE. PLEASE TYPE OR PRINT.

                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

 CJ4440/41A    AUf                                      CASE NO.
       NAME OF DEBTOR                nil
 5 -S 1 9  30 arS0 \                                    TELEPHONE NO. (0 -li                           (0 Co
       ADDRESS
cneiv-v,,j0q3 ,(4) 3e07,9y
           CITY, STATE, ZIP

              PRO SE AFFIDAVIT TO ACCOMPANY PETITION FOR ORDER OF RELIEF

          I, the undersigned, being under oath and declare under penalty of perjury, that I do not have an
  attorney to represent me in this case, that I represent myself in this case, that I am the petitioner in the
  above-stated bankruptcy case under Title 11 of the United States Code, and that the answers given below
  are true according to the best of my knowledge, information and belief.

           Did anyone assist you in any way in the prep • tion of this petition?
                  ANSWER: YES 0

           If someone did assist you, list their name and address:


           NAME -

           ADDRESS

           CITY, STATE, ZIP CODE                                        TELEPHONE NUMBER

           Did the person assisting you charge or collect any money for helping you in an way?
                  ANSWER: YES B              NO       IF "YES", HOW MUCH ($

           Have you filed a bankruptcy case in the past?
                 ANSWER: YE                      NO

           If you have filed a bankruptcy case in the past, list the case number, chapter anI judge:



                                                              jOwt
                                                                        PRO SE PETITIONER

  Subscribed and sworn to before me on the I 1-rlay of         (
                                                                     r=j)
            NOTARY PUBLIC                                               1JEPT:7TY-etERK




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